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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA,
           Plaintiff,

vs.                                                      3:08cr46/LAC

SCOTT KERLE,
            Defendant.
_____________________________________________________________________
                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

       The defendant, by consent, has appeared before me pursuant to Rule 11,
Fed.R.Crim.P., and has entered a plea of guilty to the two count indictment against
him. After cautioning and examining the defendant under oath concerning the
subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable
and voluntary, and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted and that the defendant be adjudicated
guilty and have sentence imposed accordingly.


Dated: June 23, 2008


                                   /s/   Miles Davis
                                         MILES DAVIS
                                         UNITED STATES MAGISTRATE JUDGE


                            NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within 24 hours after being served a copy thereof. Any different deadline that may
appear on the electronic docket is for the court’s internal use only, and does not
control. A copy of objections shall be served upon all other parties. Failure to
object may limit the scope of appellate review of factual findings. See 28 U.S.C. §
636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).
